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                         UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

In re: Case No.                                         6:17-bk-02004-RAC

Ronald E. Scherer                                       Chapter 11

            Debtor.
__________________________________________/

                       UNITED STATES’ NOTICE OF APPEARANCE

       Please take notice that Alan Shapiro, Trial Attorney, United States Department of Justice,

Tax Division, hereby enters his appearance as counsel for the United States of America and

requests notice of all matters.

       Respectfully submitted this 17th day of April, 2017.

                                                    /s/ Alan Shapiro
                                                    ALAN SHAPIRO
                                                    Trial Attorney, Tax Division
                                                    U.S. Department of Justice
                                                    Post Office Box 55
                                                    Washington, D.C. 20044
                                                    Telephone: (202) 307-5839
                                                    Telephone Facsimile: (202) 514-5238
                                                    E-Mail: alan.m.shapiro@usdoj.gov
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                               CERTIFICATE OF SERVICE

        IT IS HEREBY CERTIFIED that, on April 17, 2017, a true and correct copy of the
foregoing United States’ Notice of Appearance was served via the Court’s Electronic Case
Filing System on:

James H. Monroe, Esquire
James H. Monroe, P.A.
Post Office Box 540163
Orlando, Florida 32854

U.S. Trustee
United States Trustee - ORL
Office of the United States Trustee
George C. Young Federal Building
400 West Washington Street, Suite 1100
Orlando, Florida 32801

       IT IS HEREBY CERTIFIED also that service of the foregoing United States’ Notice
of Appearance has been made upon the following by depositing a copy in the United States
mail, postage prepaid, this 17th day of April, 2017:

Samir Dahman, Esquire
Kohrman Jackson Krantz, LLP
10 West Broad Street, Suite 1900
Columbus, Ohio 43215-4291

Mark Belongia, Esquire
Duane Morris LLP
190 South LaSalle Street, Suite 3700
Chicago, Illinois 60603

Venar Ayar, Esquire
Ayar Law Group
3000 Town Center, Suite 501
Southfield, Michigan 48075

Ronald E. Scherer Restatement of Trust, PNC Bank (as successor to National City Bank),
Trustee
 c/o. Susan Bottiggi, Sr. Vice President, PNC Wealth Management
155 E. Broad Street
Columbus, Ohio 43215




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Franklin County Treasurer
c/o Stephen Porte Counselor to the Treasurer
373 S. High Street, 17th Floor
Columbus, Ohio 43215-7824

Municipal Tax Investment, LLC
 c/o CT Corporation System
1300 East Ninth Street
Cleveland, Ohio 44114

Matrix drawn from Debtor’s Ch. 11 Case Management Summary at Docket Item #15 in Case
No. 2017-2004.

Bank of America US Trust          Citizens Bank                     Duane Morris LLP
150 N College Street              328 South Saginaw                 190 South LaSalle Street
NCl-028-29-03                     Flint, MI 48502-1926              Suite 3700
Charlotte, NC 28255-0001                                            Chicago, IL 60603-3433

FIFTH THIRD BANK                  First Century Bank                Florida Department of Revenue
MD# ROPS05 BANKRUPTCY             P.O. Box 1559                     Bankruptcy Unit
DEPT                              Bluefield, WV 24701-1559          Post Office Box 6668
1850 EAST PARIS SE                                                  Tallahassee FL 32314-6668
GRAND RAPIDS MI 49546-6253

Lionspaw Grand HOA, Inc.          Maples Health Care, Inc.          Lionspaw Development LTD
c/o Nelson & Selwitz Property     1600 Bland Street                 125 E. Indiana Avenue, Suite A-2
Management                        Bluefield, WV 24701-3775          DeLand, FL 32724-4341
1190 Pelican Bay Drive
Daytona Beach, FL 32119-1381

Nationstar Mortgage               Northwestern Mutual Life          National Sign & Signal Inc.
8950 Cypress Waters Blvd          530 W. Spring Street, Suite 200   301 Armstrong Road
Coppell, TX 75019-4620            Columbus, OH 43215-5385           Battle Creek, MI 49037-7374

State of Michigan                 State of Ohio                     Ocwen Loan Servicing, LLC
P.0. Box 30774                    P.O. Box 530                      1661 Worthington Road, Suite 100
Lansing, MI 48909-8274            Columbus, OH 43216-0530           West Palm Beach, FL 33409-6493

Volusia County Revenue Division   Ella Roberts, Esquire
123 West Indiana Avenue, Rm 103   Albertelli Law
Deland FL 32720-4615              Post Office Box 23028
                                  Tampa, FL 33623-2028




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Jill E. Kelso, Esquire                Fifth Third Bank
Office of the United States Trustee   38 Fountain Square Plaza
George C Young Federal Building       Cincinnati, OH 45263
400 W. Washington Street
Suite 1100
Orlando, FL 32801-2440




                                                            /s/ Alan Shapiro
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